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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
TRIUMPH FOODS, LLC,                 )
CHRISTENSEN FARMS MIDWEST, LLC,     )
THE HANOR COMPANY                   )
OF WISCONSIN, LLC,                  )
NEW FASHION PORK, LLP,              )
EICHELBERGER FARMS, INC.,           )
ALLIED PRODUCERS’ COOPERATIVE,      )
individually and on behalf          )
of their members,                   )
                                    )          CIVIL ACTION
                     Plaintiffs,    )          No. 23-11671-WGY
                                    )
               v.                   )
                                    )
ANDREA JOY CAMPBELL, in her         )
official capacity as Attorney       )
General of Massachusetts,           )
ASHLEY RANDLE, in her official      )
capacity as Massachusetts           )
Commissioner of Agriculture,        )
                                    )
                    Defendants.     )
___________________________________)

YOUNG, D.J.                                             July 22, 2024

                              MEMORANDUM & ORDER

I.    INTRODUCTION

      This case is about pork: how it is raised and where it may

be sold for human consumption.        The Plaintiffs, Triumph Foods,

LLC (“Triumph”), Christensen Farms Midwest, LLC, The Hanor

Company of Wisconsin, LLC, New Fashion Pork, LLP, Eichelberger

Farms, Inc., and Allied Producers’ Cooperative (collectively,

the “Pork Producers”), seek to stop the enforcement of the

Massachusetts Prevention of Farm Animal Cruelty Act (“the Act”)


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by suing Andrea Joy Campbell, in her official capacity as

Attorney General of Massachusetts, and Ashley Randle, in her

official capacity as Massachusetts Commissioner of Agriculture

(collectively, the “Commonwealth”).        Am. Compl., ECF No. 17.

The Plaintiffs allege that the Federal Meat Inspection Act

(“FMIA”) preempts the Act’s enforcement.        Id.

     Along with pork, this case is about how a state may

regulate its own commerce while continuing fully to participate

in the national economy.    See generally National Pork Producers

Council v. Ross, 137 Harv. L. Rev. 330 (2023).          The Constitution

and our federal laws provide a framework for each state to

follow in regulating certain industries, but, provided they do

not interfere with that framework, states may still introduce

and enforce their own laws and regulations.         Today, the industry

in question is pork; tomorrow, it could be shellfish.            See

Amicus Br. Iowa, ECF No. 71.    The industry is, to some extent,

irrelevant, so long as the state’s statutory scheme does not

conflict with that of the federal government.         “The preemption

of state laws represents ‘a serious intrusion into state

sovereignty.’”   Virginia Uranium, Inc. v. Warren, 587 U.S. 761,

773 (2019) (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 488

(1996) (plurality opinion)).    As Congress has not preempted the

state law in question here summary judgment is granted to the

Commonwealth.


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II.    PROCEDURAL HISTORY

       The Pork Producers filed their amended complaint on July

31, 2023.     See Am. Compl.     The amended complaint alleged ten

causes of action, most arising under the United States

Constitution.     See id.      The Pork Producers requested a

preliminary injunction, and after a hearing on September 6,

2023, the Court collapsed the motion with a trial on the merits

in accordance with Rule 65(a)(1).           See Massachusetts

Lobstermen's Ass'n, Inc. v. National Marine Fisheries Serv., No.

CV 24-10332-WGY, 2024 WL 2194260, at *3 n.5 (D. Mass. Apr. 16,

2024) (appeal pending).        The Commonwealth then filed a motion to

dismiss.    Mot. Dismiss, ECF No. 53; see also Mem. Supp. Mot.

Dismiss Compl., ECF No. 54.        The Court granted the

Commonwealth’s motion to dismiss with respect to Counts II-X but

denied the motion to dismiss with respect to Count I, alleging a

violation of the Dormant Commerce Clause.           See Elec. Clerk’s

Notes, ECF No. 66.

       The Pork Producers then moved for partial summary judgment

on the remaining Dormant Commerce Clause claim.             Pls.’ Mot.

Partial Summ. J., ECF No. 87; see also Mem. Reasons Supp. Pls.’

Mot. Partial Summ. J., ECF No. 88.          In opposition, the

Commonwealth requested that summary judgment be entered against

the Pork Producers pursuant to Fed. R. Civ. P. 56(f)(1).               See

Mem. Opp’n Pls.’ Mot. Summ. J. & Req. Summ J., ECF No. 94.                On


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November 14, 2023, the parties agreed to proceed on a case

stated basis on the remaining claim.

       On December 19, 2023, after oral argument, the Court took

the matter under advisement.    See Elec. Clerk’s Notes, ECF No.

117.   On February 5, 2024, the Court entered a memorandum and

order which severed the provision of the Act (“the

slaughterhouse exemption”) that violated the Dormant Commerce

Clause from the rest of the statute and vacated in part the

Court’s previous dismissal of Count III in the Pork Producer’s

amended complaint, which claimed that the Act was preempted by

the FMIA.   See Memorandum and Order, ECF No. 125.

       The Pork Producers now move for summary judgment on the

ground that the Act, with the slaughterhouse exemption severed,

is now preempted by the FMIA.    See Pls.’ Mot. Summ. J., ECF No.

126 (“Pls.’ Mot.”); see also Pl.’s Mem. Reasons Supp. Pls.’ Mot.

Summ. J., ECF No. 127 (“Mem. Supp. Pls.’ Mot.”).            The

Commonwealth cross-moves for summary judgment on the ground that

the Act is not preempted by the FMIA.      See Defs.’ Mot. Summ. J.,

ECF No. 136 (“Defs.’ Mot.”); see also Mem. Supp. Mot. Summ. J.,

ECF No. 137 (“Mem. Supp. Defs.’ Mot.”).      The parties have fully

briefed the issues.   Id.; Pls.’ Reply Supp. Pls.’ Mot. Summ. J.

& Opp. Defs.’ Mot. Summ. J. (“Pls.’ Reply”), ECF No. 158.




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III. UNDISPUTED FACTS

     The Pork Producers are a combination of pig farmers (“the

Farmer Plaintiffs”) and one pork processor, Triumph.

Collectively, the Pork Producers are located outside the state

of Massachusetts, in Minnesota, Iowa, Nebraska, Illinois, South

Dakota, Wisconsin, Oklahoma, North Carolina, Missouri, Wyoming,

and Indiana.    Am. Compl. ¶¶ 12-19.      The Farmer Plaintiffs allege

that the Act will force them to “convert their farm operations

to meet Minimum Size Requirements.”         Id. ¶ 56.    Triumph alleges

that the adjustments it will need to make as a pork processor to

comply with the Act are “penalties.”        Id. ¶ 58.

     A.    The Act

     In 2016, Massachusetts enacted the Prevention of Farm

Animal Cruelty Act, Mass. Gen. Laws ch. 129 App., § 1, through

ballot initiative.     Id. ¶ 25.   The Act’s purpose is to “prevent

animal cruelty by phasing out extreme methods of farm animal

confinement, which also threaten the health and safety of

Massachusetts consumers, increase the risk of foodborne illness,

and have negative fiscal impacts on the Commonwealth of

Massachusetts.”      Id. § 1-1.   The Act makes it unlawful “for a

farm owner or operator within the Commonwealth of Massachusetts

to knowingly cause any covered animal to be confined in a cruel

manner.”    Id. § 1-5.   The Act defines “confined in a cruel

manner” as confining a “breeding pig in a manner that prevents


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the animal from lying down, standing up, fully extending the

animal’s limbs or turning around freely” (“Minimum Size

Requirements”).      Id.   The Act also makes it unlawful for a

“business owner or operator to knowingly engage in the sale

within the Commonwealth of Massachusetts of any . . . Whole Pork

Meat that the business owner or operator knows or should know is

the meat of a covered animal that was confined in a cruel

manner, or is the meat of the immediate offspring of a covered

animal that was confined in a cruel manner.”          Id. § 1-3.      A sale

is defined in the Act as “a commercial sale by a business that

sells any item covered by Section 3.”        Id. § 1-5(M).      The

definition goes on to state that “[f]or purposes of this

section, a sale shall be deemed to occur at the location where

the buyer takes physical possession of an item covered by

Section 3.”   Id.

     The Attorney General has exclusive authority to enforce the

provisions of the Act.      Id. § 1-6.    Each violation of the Act is

punishable by a civil fine up to $1,000 and, in addition, the

Attorney General may seek injunctive relief to prevent any

further violations of the Act.      Id.

     B.   The FMIA

     The FMIA was enacted in 1906 “in light of concerns that

unhealthy meat products impaired the effective regulation of

meat and meat food products in interstate or foreign commerce.”


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Pls.' St. Undisputed Material Facts Supp. Pls.’ Mot. Summ. J. ¶

40, ECF No. 128 (“Pls.’ SOF”) (internal quotation marks and

brackets omitted).    Under the FMIA, pigs are inspected prior to

entering a slaughterhouse, while in a slaughterhouse facility,

and post-slaughter.    Id. ¶¶ 47-49.    The FMIA does not regulate

pig farmers, only slaughterhouses.      The FMIA contains an express

preemption clause, which states that “[r]equirements within the

scope of [the FMIA] with respect to premises, facilities and

operations of any [FMIA-inspected] establishment . . . which are

in addition to, or different than those made under this chapter

may not be imposed.”    Id. ¶ 46; see also 21 U.S.C. § 678.

        In 1967, Congress amended the FMIA due to a “need for

stronger, more effective and more uniform State inspection

programs . . . [to] provide consumer protection for all

citizens, regardless of where their meat originates.”           Pls.’ SOF

¶ 41.    The FMIA was meant to “[c]larify and broaden [federal]

authority over meat and meat products capable of use as human

food,” and “help bring the requirements of Federal and

individual State meat inspection programs into closer conformity

toward eventual elimination of the multiple and conflicting

requirements presently encountered,” as “[w]ithout such a

coordinated network of Federal and State inspection programs,

the health of the consumer cannot adequately be protected, nor

can continued confidence in our meat supply be assured.”           Id.


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     The FMIA is enforced by the Food Safety and Inspection

Service (“FSIS”), an agency of the United States Department of

Agriculture (“USDA”).    Id. ¶ 43.   For each pig and pork product,

the FSIS requires all slaughterhouses to keep records of the

following: bills of sale, invoices, receiving and shipping

papers, descriptions of all livestock, net weight of all

livestock, names and addresses of all buyers, methods of

shipment, names and addresses of carriers, and the contact

information for any previous owner of the livestock, as well as

serial numbers and identification for each animal.          9 C.F.R. §

320.1(b).

     C.    Triumph’s Business Model and Sales

     Triumph, a farmer-owned company headquartered in St.

Joseph, Missouri, is a processor and producer of pork products.

Am. Compl. ¶ 12.    Triumph largely receives its supply of pigs

from its member-owners, many of whom were its fellow plaintiffs

in this case (prior to summary judgment entering against them).

Id.; see Elec. Clerk’s Notes, ECF No. 99.       Pork produced by

Triumph is sold into Massachusetts as well as throughout the

country.    Am. Compl. ¶ 117.   In 2022, Triumph processed over

eleven million pounds of pork meat sold into Massachusetts.

Joint Mot. Clarification & Exped. Status Conf., Attach. A,

Partial Stipulation Facts ¶ 4, ECF No. 107-1.        Triumph has made




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efforts to adjust its business model and structure in order to

comply with the Act.   Am. Compl. ¶ 120.

     Triumph has over 1,000 product codes for its products,

including for specific grocery stores, brands, pork byproducts,

and type of pig (“open pen gestation”, “grass-fed”, “premium”,

etc.).   Defs.’ St. Facts Supp. Defs.’ Mot. Summ. J. ¶¶ 26-31,

ECF No. 138 (“Defs.’ SOF”).    To differentiate between different

pigs in order to ensure they are classified with the correct

product code, Triumph requires its pig farmers to deliver pigs

at specific times, segregates them from other groups of pigs,

keeps a count of all pigs in the group, and, after processing,

maintains them in separate storage prior to shipment.           Id. ¶ 34.

Triumph estimates it is processing approximately 58,000 pigs per

month in compliance with the Act, which Triumph estimates to be

about 700,000 compliant pigs (or 70 million pounds) per year

available through Triumph.    Id. ¶ 35.

     Due to the Act, Triumph has created a process to

differentiate between pork that meets the Act’s requirements and

pork that does not.    Pls.’ SOF ¶ 62.     Triumph has also

implemented new product codes, sorting procedures, and storage

locations within its facility in order to ensure compliance with

the Act.   Id. ¶ 63.




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IV.    ANALYSIS

       A.   Standard of Review

       Summary judgment is required when “there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.”          Fed. R. Civ. P. 56(a).        An issue

of material fact is genuine “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Materiality depends on the substantive law, and only factual

disputes that might affect the outcome of the suit can preclude

summary judgment.      Id.     In reviewing the evidence, this Court

must “draw all reasonable inferences in favor of the nonmoving

party, and it may not make credibility determinations or weigh

the evidence.”      Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 150 (2000).          This Court must also “disregard all

evidence favorable to the moving party that the jury is not

required to believe.”          Id. at 151.

       “The [summary judgment pleading standard is] the same

where, as here, both parties have moved for summary judgment.”

Bienkowski v. Northeastern Univ., 285 F.3d 138, 140 (1st Cir.

2002).      The fact that both parties have moved for summary

judgment on the same issues, “neither dilutes nor distorts” the

summary judgment standard of review.            See Hartford Fire Ins. Co.

v. CNA Ins. Co., 633 F.3d 50, 53 (1st Cir. 2011).                When courts


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are considering cross-motions for summary judgment, they must

“consider each motion separately, drawing all inferences in

favor of each non-moving party in turn.”         AJC Int'l, Inc. v.

Triple–S Propiedad, 790 F.3d 1, 3 (1st Cir. 2015) (quoting D & H

Therapy Assocs., LLC v. Bos. Mut. Life Ins. Co., 640 F.3d 27, 34

(1st Cir. 2011)).      “Cross-motions for summary judgment do not

alter the summary judgment standard, but instead simply ‘require

[the Court] to determine whether either of the parties deserves

judgment as a matter of law on the facts that are not

disputed.’”      Wells Real Estate Inv. Tr. II, Inc. v. Chardón/Hato

Rey P’ship, 615 F.3d 45, 51 (1st Cir. 2010) (quoting Adria Int'l

Grp., Inc. v. Ferré Dev., Inc., 241 F.3d 103, 107 (1st Cir.

2001)).      The Court must “in each instance [determine] whether

the moving party has met its burden under Rule 56.”             Dan

Barclay, Inc. v. Stewart & Stevenson Servs., Inc., 761 F.Supp.

194, 197–98 (D. Mass. 1991) (Caffrey, J.).

        B.   The Act Is Not Preempted by the FMIA.

        The Pork Producers argue that the Act is preempted by

the FMIA via both express preemption and conflict

preemption.      See Mem. Supp. Pl.’s Mot.     These arguments

misconstrue the Supreme Court’s holding in National Meat

Ass'n v. Harris, the scope of the Act, and the text of the

FMIA.    National Meat Ass'n v. Harris, 565 U.S. 452 (2012).




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       1. Express Preemption

     In Harris, the Court reviewed whether a California

provision (the “California Act”) that regulated slaughterhouses

within the state was preempted by the FMIA.         Id. at 455.      The

California Act had three provisions: 1) a provision banning any

slaughterhouse from buying, selling, receiving “a nonambulatory

animal”; 2) a provision banning the “process, butcher, or [sale

of] meat or products of nonambulatory animals for human

consumption”; and 3) a provision against “hold[ing] a

nonambulatory animal without taking immediate action to humanely

euthanize the animal.”      See Cal. Penal Code § 599f(a)-(c).         The

Court ruled that the California Act was expressly preempted by

the FMIA because the California Act “substitutes a new

regulatory regime for the one the FMIA prescribes.”            Harris, 565

U.S. at 460.   The Court further held that although “the FMIA’s

preemption clause does not usually foreclose state regulation of

the commercial sales activities of slaughterhouses,” [the

California Act’s] sales ban was “a criminal proscription

calculated to help implement and enforce each of the section’s

other regulations,” and was therefore preempted by the FMIA.

Id. at 463-64.

     The Pork Producers argue that the Act in question here

functions in much the same way; because the Act’s sales ban

imposes additional conditions for FMIA regulated establishments,


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Triumph argues it “functions as a command to slaughterhouses to

structure their operations in the exact way the [Act] mandates.”

Mem. Supp. Pls.’ Mot. 17 (quoting Harris, 565 U.S. at 464).              The

Act, however, differs from the California Act in Harris in a

fundamental way: the Act has no provision requiring any action

by a slaughterhouse other than its sales ban.

     In Harris, the Court noted that California “may motivate an

operational choice without running afoul of the FMIA’s

preemption provision.”      565 U.S. at 463.    It was the fact that

the sales ban functioned “as a command to slaughterhouses to

structure their operations in the exact way the remainder of

[the California Act] mandate[d].”        Id. at 464 (emphasis added).

By contrast, the Act here only bans the sale of noncompliant

pork meat; it does not regulate how a slaughterhouse operates.

As the Commonwealth argues, “the practical result of the Act is

that a slaughterhouse that wishes to sell whole pork meat in

Massachusetts must be able to identify whether that meat

originated from a compliant pig.”        Mem. Supp. Defs.’ Mot. 18.

Slaughterhouses may still operate in the same way they did

previously -- noncompliant pork processing is not only allowed,

but slaughterhouses are not even required to segregate

noncompliant pork from compliant pork.        See, e.g., Virginia

Uranium, 587 U.S. at 790–91 (Ginsburg, J., concurring) (“The

distinction drawn in National Meat thus supports this


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conclusion: A state law regulating an upstream activity within

the State's authority is not preempted simply because a

downstream activity falls within a federally occupied field.”).

     The Pork Producers also argue that Triumph has had to make

“changes to how pork is physically stored at and shipped from

Triumph’s facility,” but it is unclear on the record why that

would be required under the Act -- these changes for storage and

distribution may make Triumph’s tracking and organization of

compliant pork easier and more manageable, but they are not

required under the law.     Pls.’ Reply 15.     As the FSIS already

requires, a slaughterhouse must be able to identify where its

pork meat came from.1   See supra, p. 7-8.       Organizing and storing

the pork to ensure that the Act -- compliant pork is shipped

together is no different than the storage procedures that

Triumph is already following –- it segregates organic, grass-

fed, or otherwise “specialty” pork.        Though the Act requires


     1 The Pork Producers raise, for the first time in their
reply, that the Act imposes on farmers and slaughterhouses a
recordkeeping requirement, “under the penalty of perjury,” so
different than those of the FMIA that it must be preempted.
Pls.’ Reply. This requirement, for certifications of how pig
suppliers confine breeding pigs, however, is far outside the
scope and purpose of the FMIA; again, these records are made in
order to determine the treatment of the animals prior to
slaughter, not to determine whether the animals are fit for
human consumption. This requirement therefore sits far outside
the scope of the FMIA, and consequently, the Pork Producers have
not met their burden in demonstrating that the requirement is
preempted.



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changes in operations for pig farmers, which the FMIA does not

cover, slaughterhouses may continue to operate as they did

previously -- they are simply only allowed to ship compliant

pork meat for sale in Massachusetts.2

     Finally, the Pork Producers argue that the Act “[overrides]

the USDA’s inspection and approval of the [pork] for sale”

because Massachusetts has independently found that the pork is

“adulterated, not fit for human consumption.”          Mem. Supp. Pl.’s

Mot. 14.   The Pork Producers argue that because one of the

stated purposes of the Act is to protect “the health and safety

of Massachusetts consumers,” in banning the sale of certain pork

products, the Act creates additional requirements for the same

stated purpose as that of the FMIA.        Mass. Gen. Laws ch. 129

App., § 1-1.   As the Pork Producers also correctly explain,

however, this Court must “look . . . to the effect of the

regulatory scheme.”   Associated Indus. of Mass. v. Snow, 898

F.2d 274, 279 (1st Cir. 1990).     It is not the stated purpose of

the state statute, but the operation of that statute, that

determines whether it is preempted by federal law.           Here,


     2 The Pork Producers also argue that the other cases cited
by the Commonwealth are inapplicable because those cases
involved wholesale bans on types of meat, not simply bans on how
that meat “was produced or processed.” Pls.’ Reply 8. The Pork
Producers, however, have only shown that the ban here affects
how pork is “produced”, which is a function of the pig farmers,
and not how pork is “processed”, which is a function of Triumph
and other slaughterhouses. The argument, therefore, fails.


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preventing consumption of adulterated products is the purpose of

the FMIA, but it is not the purpose of the Act.              The Act’s

purpose is to prevent animal cruelty.       The language otherwise is

just that -- language -- and in practice, the Act has no effect

on health and safety in the Commonwealth.

     The Court, therefore, determines that the Act is not

expressly preempted by the FMIA.

         2. Conflict Preemption

     The Pork Producers also argue that the Act’s sales ban is

preempted under principles of conflict preemption because the

sales ban “conflicts with, and obstructs, the objectives of the

FMIA.”   Mem. Supp. Pl.’s Mot. 23.       Conflict preemption is

triggered “when the state law stands as an obstacle to the

accomplishment and execution of the full purposes and objectives

of Congress.”   Weaver’s Cove Energy, LLC v. Rhode Island Coastal

Res. Mgmt. Council, 589 F.3d 458, 472-73 (1st Cir. 2009).

Should a statute have a preemption provision, as the FMIA does,

a conflict preemption analysis is generally inappropriate. See

English v. General Elec. Co., 496 U.S. 72, 79 (1990) (conflict

preemption analysis applies in the “absence of explicit

statutory language.”).      A presumption against preemption applies

generally to such an analysis as well.        See Medicaid & Medicare

Advantage Prod. Ass'n of P.R., Inc. v. Emanuelli Hernandez, 58




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F.4th 5, 11 (1st Cir. 2023).     The Court here, however, will

continue to conduct such an analysis.

     A state law is preempted by conflict preemption when “it is

impossible for a private party to comply with both state and

federal requirements” or where state law “stands as an obstacle

to the accomplishment and execution of the full purposes and

objectives of Congress.”    English, 496 U.S. at 79 (quoting Hines

v. Davidowitz, 312 U.S. 52, 67 (1941)).       “What is a sufficient

obstacle is a matter of judgment, to be informed by examining

the federal statute as a whole and identifying its purpose and

intended effects.”    Maine Forest Prod. Council v. Cormier, 51 F.

4th 1, 6 (1st Cir. 2022) (citing Crosby v. National Foreign

Trade Council, 530 U.S. 363, 373 (2000)).

     The purpose of the FMIA is “adequately” to “protect” “the

health of the consumer” through the intended effect of “a

uniform framework” of federal and state meat inspection

programs.   Pls.’ SOF ¶ 41.    The Act, in contrast, seeks to

prevent the sale of pork raised in inhumane conditions, without

concern for whether that meat is safe to eat (in other words, an

otherwise healthy pork product could be noncompliant with the

Act, not because it is considered unhealthy, but because the

policy preferences of the Massachusetts voters demand it not be

eligible for sale).   There is nothing in the record to indicate

that since the Act’s enactment, obstacles have occurred in


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ensuring safe and healthy pork in the Massachusetts market

through the FMIA.

     Further, as explained above, slaughterhouses can easily

comply with both federal requirements and the requirements

imposed by the Act because the Act does not impose any new

requirements on slaughterhouses within the scope of the FMIA.

As the Act does not impose any new requirements on

slaughterhouses within the scope of the FMIA, it cannot, by

definition, stand as an obstacle to the accomplishment or

execution of Congress’s objectives under the FMIA.

     The Pork Producers argue that because there is “pork meat

product that has passed FMIA inspection and is approved for sale

by the USDA [that] is now unable to be sold,” the Act conflicts

with the FMIA.   Pls.’ Reply 19.

     Although the Pork Producers point to instances in the

record where a farmer, in providing both compliant and non-

compliant pigs to a processor, erred in denoting pigs as

compliant, resulting in pigs that had passed full USDA

inspection being withdrawn from the market, such instances do

not interfere with the objectives of the FMIA.3         If the farmer

had erred in labeling pigs delivered as “grass-fed”, and such an




     3 The objective of the FMIA is to ensure safe pork enters
the market. The FMIA, however, does not require that all safe
pork available to the market be able to enter the market.


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error was discovered after packaging and shipment, the

mislabeled pork products would also have been withdrawn from the

market to prevent misleading customers.         The FMIA’s purpose, to

protect the health of consumers through uniform meat inspection

regulations, is in no way precluded by the Act’s recording

requirements.     The Court, therefore, determines that the Act is

not preempted by the FMIA via conflict preemption.

  V.       CONCLUSION

       After tremendously helpful briefing and oral argument, the

Court took the parties’ cross motions for summary judgment under

advisement.     The Court now, after careful consideration,

determines that the Act is not preempted by the FMIA, and

therefore GRANTS the Commonwealth’s motion for summary judgment,

ECF No. 136, and DENIES the Pork Producers’ motion for summary

judgment, ECF No. 126.      Judgment shall enter for the

Commonwealth.

       SO ORDERED.

                                            _/s/ William G. Young       _
                                                WILLIAM G. YOUNG
                                                     JUDGE
                                                     of the
                                                 UNITED STATES4




       This is how my predecessor, Peleg Sprague (D. Mass. 1841-
       4

1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 46 years.


                                  [19]
